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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                No. 4:13CR00097-02 JLH

RONDA GILLUM

                                           ORDER

       The motion of the United States of America to dismiss the indictment against Ronda Gillum

is GRANTED. Document #31. The indictment now pending against Ronda Gillum is hereby

dismissed without prejudice.

       IT IS SO ORDERED this 19th day of November, 2013.




                                                   J. LEON HOLMES
                                                   UNITED STATES DISTRICT JUDGE
